 Case 1:21-cv-01456-MN Document 53 Filed 03/31/22 Page 1 of 3 PageID #: 3425




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 CBV, INC.,                                       )
                                                  )
                       Plaintiff,                 )
                                                  )
                v.                                ) C.A. No. 21-1456-MN
                                                  )
 CHANBOND, LLC, DEIRDRE LEANE, and                )
 IPNAV, LLC,                                      )
                                                  )
                       Defendants.

                              MOTION TO FILE UNDER SEAL

       Defendant ChanBond LLC (“ChanBond”) respectfully moves this Court pursuant to

Federal Rule of Civil Procedure 5.2, and Local Rule of Civil Practice and Procedure of the United

States District Court for the District of Delaware 5.1.3 for entry of an order authorizing ChanBond

to file its Answering Brief in Opposition to Plaintiff CBV, Inc.’s Motion for Temporary

Restraining Order, Preliminary Injunction, and Expedited Discovery (D.I. 18) (the “Motion”)

under seal. CBV, Inc. (“CBV”), Deirdre Leane, and IPNAV, LLC do not oppose.

       CBV filed its Opening Brief in Support of the Motion on March 15, 2022 (D.I. 19) under

seal. The Opening Brief in Support of the Motion sets forth information regarding ChanBond’s

confidential business information. ChanBond’s Answering Brief in Opposition to the Motion

contains the same. Accordingly, ChanBond respectfully submits that good cause exists to seal its

Answering Brief in Opposition to the Motion to protect the interests of one or both parties against

public dissemination of the confidential information contained within ChanBond’s Answering

Brief in Opposition to the Motion.




                                                    1
 Case 1:21-cv-01456-MN Document 53 Filed 03/31/22 Page 2 of 3 PageID #: 3426




       ChanBond will comply with all applicable local rules and procedures regarding filing under

seal through the Court’s CM/ECF system, including the requirement to file a redacted version

within seven (7) days of filing the sealed document.

       ChanBond, therefore, respectfully requests entry of the attached order permitting the filing

of its Answering Brief in Opposition to the Motion under seal.

Dated: March 31, 2022                        Respectfully submitted,

                                             BAYARD, P.A.

                                             /s/ Stephen B. Brauerman
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                                                       2
 Case 1:21-cv-01456-MN Document 53 Filed 03/31/22 Page 3 of 3 PageID #: 3427




                CERTIFICATION PURSUANT TO LOCAL RULE 7.1.1

      I hereby certify, pursuant to D. Del. LR 7.1.1, that reasonable efforts have been made to

reach agreement with opposing counsel on the matters set forth above and CVB, Inc., Deirdre

Leane, and IPNAV, LLC do not oppose ChanBond, LLC’s Motion to File Under Seal.

Dated: March 31, 2022                                 /s/ Stephen B. Brauerman
                                                      Stephen B. Brauerman (No. 4952)




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